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                                       ORDERED.
 Dated: March 21, 2025




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

 In Re:                                                    Case No. 6:24−bk−03843−LVV

 Chaim Levilev,                                            Chapter 7

                                 Debtor

     ORDER DENYING BREINA LEVILEV’S MOTION TO QUASH SUBPOENA,
       STRIKE IMPROPER REQUESTS, AND REQUEST FOR SANCTIONS

          THIS CASE came on before this Court for consideration at a hearing held on February 11,

2025 on Non-Party Breina Levilev (“Breina”) Motion to Quash Subpoena, Strike Improper

Requests, and Requests for Sanctions (the “Motion”, Docket No. 67). The Court, having read

Breina’s Motion and creditor’s Nossen Levilev and Harmless Products, LLC’s (“Creditors”)

response in opposition to the Motion (Docket No. 87), having heard oral argument of Breina and

Creditors, and having reviewed the record and otherwise being duly advised in the premises,

accordingly, it is hereby ORDERED that:

          1.     Breina’s Motion is DENIED for the reasons stated in open court and;
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       2.      Breina’s obligation to produce documents in response to the subpoena is stayed. The

               Court will revisit the timeline for production of documents, if necessary, at the status

               conference currently scheduled for March 18, 2025 at 11:00am.



Attorney David W. Berenthal, Esq. is directed to serve a copy of the Order on all interested parties

who are non-CM/ECF users and file a proof of service within 3 business days of entry of the order.
